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IN THE UNITED s'rATEs DISTRICT CoUR'r/;A_ ’ 19 4 `\ 05
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Plaimiff, )
)
vS. ) No. 05-1073-T
)
COMMISSIONER OF )
SOCIAL SECURITY, )
)
Def`endant. )

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Cornrnissioncr of Social Security
denying Plaintiff‘s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiff`s brief in support of this appeal must be filed within 30 days of the
date of this order.

Defendant's brief in opposition to this appeal must be filed within 30 days after
service of Plaintif`f‘s brief.

If Plaintif`f wishes to file a reply brief, such brief must be filed within 10 days after
service of Defendant's brief.

Failure of either party to comply with this order will result in appropriate sanctions,
Which may include consideration of the case without regard to that party‘s brief, or dismissal

of the action.

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with Ru\e 58 and,'cr_79 (e) FRCP on § j § g § 2

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Oral argument will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

 

 

 

 

UNITSMTSED`E DISTRICT C URT - wESTERN D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 1:05-CV-01073 Was distributed by f`aX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

Joe H. Byrd

BYRD DONAHOE & BYRD
P.O. Box 2764

Jacl<son7 TN 3830]--276

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

